                                     Case 1:18-cr-00306-AT-JFK Document 29 Filed 05/20/19 Page 1 of 5




                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA
                                              ATLANTA DIVISION


                                                                   )
UNITED STATES OF AMERICA                                                     JUDGMENT IN A CRIMINAL CASE
                                                                   )
v.
                                                                   )         Case Number:               1:18-CR-0306-AT-1
                                                                   )         USM Number:                70043-019
GRANT KIDD, JR.                                                    )
                                                                   )         Kendal Silas
                                                                   )         Defendant's Attorney




THE DEFENDANT:


The defendant pleaded guilty to count 1.


The defendant is adjudicated guilty of these offenses:


Title & Section                      Nature of Offense                                      Offense Ended             Count


18 U.S.C. § 195 l(a)                 Extortion Under Color of                               August 9, 2015              1
                                     Official Right


The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.


It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
Attorney of material changes in economic circumstances.



                                                                  May 16, 2019
                                                                  Date of Imposition of Judgment




                                                                  AMY TOTENBERG, U.S. DISTRICT JUDGE
                                                                 Name and Title of Judge
                                                                                                                                                                                                                                                                                                                           Case 1:18-cr-00306-AT-JFK Document 29 Filed 05/20/19 Page 2 of 5




DEFENDANT:                                                                                              GRANT KIDD, JR.
CASE NUMBER: I: 18-CR-0306-AT- I                                                                                                                                                                                                                                                                                                                                                                                                           Judgment -- Page 2 of 5

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Judgment in a Criminal Case
Sheet 4 - Probation                             -




                                                                                                                                                                                                                                                                                                                                                                                                               PROBATION


You are hereby sentenced to probation for a term of: THIRTY                                                                                                                                                                                                                                                                                                                                                            (30) MONTHS.

Defendant shall serve the first TWELVE                                                                                                                                                                                                                                                                                                                                     (12) MONTHS of probation on home confinement. During home
confinement, the Defendant will be restricted to his residence at all times except for the following reasons or as
authorized by the Probation Officer: the performance of his work obligations as a truck driver, including daily
travel throughout the states of Georgia, Tennessee, Alabama, South Carolina, and North Carolina and other related
work obligations, provided he returns home early, unless approved for more extended travel; religious services�
medical reasons and appointments for himself or attendant to the medical care of an immediate family member;
attending to education related functions for his son at college in Alabama or otherwise, i.e., attendance at his
son's high school graduation, and attendance of a college football game in Alabama, as coordinated with the
probation officer; essential self-care functions (to be discussed and pre-approved by the Probation Officer); visits
with legal counsel and attendance at court proceedings; performance of his 150 hours of community service
obligation; and any other reasonable or necessary outside activities pre-approved by the probation officer.


Defendant shall serve the first FOUR                                                                                                                                                                                                                                                                                                         (4) MONTHS of ho1ne confinement on location monitoring. The defendant
shall be required to pay up to 50o/o of the cost for the electronic monitoring program, based upon his ability to
pay, as determined by the probation officer.


Defendant shall be required to complete ONE HUNDRED FIFTY                                                                                                                                                                                                                                                                                                                                                                  (150) HOURS of community service during
his term of probation under the guidance and supervision of his probation officer.



                                                                                                                                                                                                                                                                                                                                                      MANDATORY CONDITIONS



1.                    You must not commit another federal, state or local crime.
2.                    You must not unlawfully possess a controlled substance.
3.                    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
                     15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
                     court.
                                                      0 The above drug testing condition is suspended, based on the court's determination that you
                                                      pose a low risk of future substance abuse. (Check if applicable)
4.                    You must cooperate in the collection of DNA as directed by the probation officer.
5.                    You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
6.                    You must notify the court of any material change in your economic circumstances that might affect your
                     ability to pay restitution, fines, or special assessments.


You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.
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DEFENDANT:       GRANT KIDD, JR.
CASE NUMBER: I: l 8-CR-0306-AT-1                                                                                  Judgment -- Page 3 of 5


                                       STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision.                  These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.


   1.   You must report to the probation office in the federal judicial district where you are authorized to reside within         72 hours of the
        time you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different
        time frame.
   2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
        and when you must report to the probation officer, and you must report to the probation officer as instructed.
   3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
        from the court or the probation officer.
   4.   You must answer truthfully the questions asked by your probation officer.
   5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
        arrangements (such as the people you live with), you must notify the probation officer at least            10 days before the change.   If
        notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
        officer within   72 hours of becoming aware of a change or expected change.
   6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
        officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
   7.   You must work full time (at least    30 hours per week) at a lawful type of employment, unless the probation officer excuses you
        fro1n doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
        excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
        job responsibilities), you must notify the probation officer at least I 0 days before the change. If notifying the probation officer
        at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
        hours of becoming aware of a change or expected change.
   8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
        convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
        the probation officer.
   9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
        that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
        nunchakus or tasers).
   11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or infonnant
        without first getting the permission of the court.
   12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
        the person and confirm that you have notified the person about the risk.
   13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: \\l\\l\\f . usc.ou1:ts. gov


I understand that a violation of any of these conditions of supervised release may result in modification, extension, or revocation of 1ny
term of supervision.



 Defendant's Signature                                                              Date


 USPO's Signature                                                                   Date
                                    Case 1:18-cr-00306-AT-JFK Document 29 Filed 05/20/19 Page 4 of 5




DEFENDANT:   GRANT KIDD, JR.
CASE NUMBER: I: 18-CR-0306-AT-1                                                                        Judgment -- Page 4 of 5




                      ADDITIONAL STANDARD CONDITIONS OF SUPERVISION


As part of your probation, you must comply with the following additional standard conditions of supervision.
These conditions are imposed because they establish the basic expectations for your behavior while on supervision
and identify the minimum tools needed by probation officers to keep informed, report to the court, and bring
about improvements in your conduct and condition.


You must refrain from the excessive use of alcohol.


You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(l)), other electronic communications or data storage devices or media, or office to a search conducted by
a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release. You
must warn any other occupants that the premises may be subject to searches pursuant to this condition. An officer
may conduct a search pursuant to this condition only when reasonable suspicion exists that you violated a
condition of your supervision and that areas to be searched contain evidence of this violation. Any search must
be conducted at a reasonable time and in a reasonable manner.
                                                                                                                                                                                                                                                                                                                                                                                      Case 1:18-cr-00306-AT-JFK Document 29 Filed 05/20/19 Page 5 of 5




DEFENDANT:                                                                                                                              GRANT KIDD, JR.
CASE NUMBER: 1: 18-CR-0306-AT-1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Judgment -- Page 5of5

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Judgment in a Criminal Case
Sheet 5                                                       --                Criminal Monetary Penalties


                                                                                                                                                                                                                                                                                                                                  CRIMINAL MONETARY PENALTIES


                                                                                                                                                            Special Assessment


TOTAL                                                                                                                                                       $100.00

                                                                                                                                                           Fine


TOTAL                                                                                                                                                     The Court waives the fine.
